THEODORE H. WICKWIRE, JR., JERE R. WICKWIRE, AND WARD A. WICKWIRE, EXECUTORS, ESTATE OF THEODORE H. WICKWIRE, PETITIONERS, v. COMMISSIONER OF INTERNAL REVENUE, RESPONDENT.Wickwire v. CommissionerDocket No. 5574.United States Board of Tax Appeals10 B.T.A. 102; 1928 BTA LEXIS 4199; January 21, 1928, Promulgated *4199  The deficiency herein for the year 1917 is barred by the statute of limitations.  Frank J. Maguire, Esq., for the petitioners.  V. Heffernan, Esq., for the respondent.  LITTLETON*102  The Commissioner determined a deficiency of $16,077.05 for the calendar year 1917 as a result of his denial of a claim in abatement theretofore filed by the petitioner to a jeopardy assessment made by the Commissioner.  The petitioner, among other issues, claims that the alleged deficiency for the year 1917 is barred by the statute of limitations.  FINDINGS OF FACT.  Theodore H. Wickwire was a resident of Buffalo, N.Y., and on March 27, 1918, he filed his individual tax return for the calendar year 1917.  On February 24, 1921, Theodore H. Wickwire and the Commissioner entered into the following consent: I, Theodore H. Wickwire, in consideration of the assurance given me by officials in the Income Tax Unit of the Bureau of Internal Revenue that my liability for all Federal taxes imposed by the Act of Congress, approved September 8, 1916, as amended by the Act of Congress approved October 3, 1917, for the year ended December 31, 1917, on my net income received*4200  from all sources in said year, shall not be determined except after deliberate, intensive and thorough consideration, hereby waive any and all statutory limitations as to the time within which assessments based upon such liability may be entered.  It is understood, however, that I do not, by the execution of this *103  waiver, admit in advance the correctness of any assessment which may be made against me for said year by the officials of the Income Tax Unit.  (Signed) THEODORE H. WICKWIRE, Taxpayer.D. H. BLAIR, (k.) Commissioner of Internal Revenue.The Commissioner thereafter proposed an additional tax and the petitioner filed a protest with the Commissioner against the proposed assessment.  While this protest was pending undetermined, the Commissioner in April, 1923, made a jeopardy assessment of the additional tax.  The Collector of Internal Revenue gave notice and demand to the petitioner and at petitioner's request the institution of distraint proceeding was withheld pending consideration of petitioner's protest by the Commissioner.  The Commissioner continued to consider the petitioner's protest and on June 11, 1924, petitioner filed a claim for abatement*4201  of the jeopardy assessment.  This claim was considered by the Commissioner and on May 18, 1925, the Commissioner made his final determination and mailed to petitioner notice thereof by registered mail on that date.  The consent entered into by the Commissioner and the petitioner on February 24, 1921, expired on April 1, 1924.  No other consent was at any time entered into between the petitioner and the Commissioner for assessment and collection of any additional tax for the calendar year 1917.  OPINION.  LITTLETON: Upon the facts in this proceedings, the period within which the Commissioner could make collection of any deficiency for the year 1917 expired under the statute prior to his determination of May 18, 1925.  The five-year period of limitation would have expired March, 1923, but for the consent entered into by the petitioner and the Commissioner.  This consent operated to suspend the running of the statute of limitations only until April 1, 1924.  ; ; *4202 . Judgment of no deficiency will be entered.